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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                      CASE NO.: 21-cv-21079-BLOOM/OTAZO-REYES

  SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,

  v.

  MINTBROKER INTERNATIONAL, LTD.,
  f/k/a SWISS AMERICA SECURITIES LTD.
  and d/b/a SURETRADER, and
  GUY GENTILE, a/k/a GUY GENTILE NIGRO,

        Defendants.
  _______________________________________________/

                                              ORDER

         THIS CAUSE came before the Court upon Plaintiff Securities and Exchange

  Commission’s (“Plaintiff”) Motion to Compel Defendant Guy Gentile (“Defendant”) to Produce

  Complete Responses to Plaintiff’s Requests for Production and Documents in Response Thereto

  (hereafter, “Motion to Compel”) [D.E. 103]. This matter was referred to the undersigned pursuant

  to 28 U.S.C. § 636 by the Honorable Beth Bloom, United States District Judge [D.E. 64]. The

  undersigned held a hearing on this matter on August 30, 2022 (hereafter “Hearing”).

         In accordance with the undersigned’s rulings at the Hearing, it is

         ORDERED AND ADJUDGED that Plaintiff’s Motion to Compel is GRANTED IN PART

  as follows:

         1.      As to Requests Nos. 39–48 of Plaintiff’s First Request for Production, Defendant

  shall amend his Responses and produce non-privileged documents responsive to these Requests to

  the extent that Defendant has them in his custody, possession, or control. As to any responsive
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  documents that Defendant claims are privileged, Defendant shall serve a privilege log on Plaintiff

  as required by the Federal Rules of Civil Procedure and the Local Rules for the Southern District

  of Florida.

         2.      As to Requests Nos. 14, 20, 21, 30, and 38 of Plaintiff’s First Request for

  Production, Defendant shall amend his Responses and produce responsive documents in

  Defendant’s possession, custody, or control, subject to a confidentiality designation, if appropriate.

         3.      As to Request No. 2 of Plaintiff’s First Request for Production, Defendant shall

  amend his Response as agreed at the Hearing.

         4.      As to Requests Nos. 3–13 and 15–17 of Plaintiff’s First Request for Production, the

  Defendant’s counsel represented at the Hearing that the Responses accurately reflect whether

  responsive documents, if any, are in Defendant’s possession, custody, or control and that

  Defendant has already produced all such documents.

         DONE AND ORDERED in Chambers at Miami, Florida, this 30th day of August, 2022.


                                                 ___________________________________
                                                 ALICIA M. OTAZO-REYES
                                                 UNITED STATES MAGISTRATE JUDGE


  cc:    United States District Judge Beth Bloom
         Counsel of Record




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